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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

 

UNITED STATES DISTRICT CouRT ||) ECEIVE hl

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Eastern District of Virginia [=]

GLERK, US DIST Cre
RICHMOND’ aC CURT

 

 

Richmond __ Division

Marsielle Bey ex. Rel Corey M. Lewis -
(to be filled in by the Clerk's Office)

 

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-V-

WILLIAM WALTER SEDR, Ill

Jury Trial: (check one) [V] Yes [No

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

Ne eee ee ee ee ee ee ee ee”

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

 
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)
I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

needed.
Name Marsielle Bey ex. Rel Corey M. Lewis
Address 13090 Gravelbrook Road
South Prince George VA 23805
City State Zip Code
County Prince George
Telephone Number ( SRAN VS - VALU
E-Mail Address “

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing| this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

 

 

 

 

 

Name WILLIAM WALTER SEDR, III
Job or Title (if known) d/b/a/ Trooper, Virginia State Police
Address 520 South Main Street
Emporia VA 23847
City State Zip Code
County Greensville
Telephone Number (434) 634-4454
E-Mail Address (if known)

[] Individual capacity Official capacity

Defendant No. 2
Name
Job or Title (if known)
Address

 

 

 

City State Zip Code
County
Telephone Number
E-Mail Address (if known)

 

 

 

[_] Individual capacity [_] Official capacity

 
Pro Se 15

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. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner’

Defendant No. 3
Name

 

Job or Title (if known)

 

Address

City State
County
Telephone Number
E-Mail Address (if known)

Zip Code

[] Individual capacity C] Official capacity

Defendant No. 4
Name

 

Job or Title (if krown)

 

Address

 

 

City State

County
Telephone Number
E-Mail Address (if known)

[] Individual capacity [| Official c.

TI. Basis for Jurisdiction

 

  

Zip Code

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A.

Are you bringing suit against (check all that apply):
[__] Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges,
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing und
federal constitutional or statutory right(s) do you claim is/are being violated b
Bill Of Rights - Amendement IV (Warrant Clause) in that the Respondent was
warrant issued against the Petitioner without probable cause, supported by oa
Bill of Right - Amendment V deprivation of the right not to be held to answer fo
crime, unless on a presentment or grand jury indictment.

  

r immunities secured by
section 1983, what
state or local officials?

ponsible for having a
or affirmation.
a otherwise infamous

 

Plaintiffs suing under Bivens may only recover for the violation of certain con
are suing under Bivens, what constitutional right(s) do you claim is/are being
officials?

 

itutional rights. If you
olated by federal
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Statement of Claim

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Section 1983 allows defendants to be found liable only when they have acted “
statute, ordinance, regulation, custom, or usage, of any State or Territory or the

 

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under color of any
District of Columbia.”

42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color

of state or local law. If you are suing under Bivens, explain how each defen
federal law. Attach additional pages if needed.

t acted under color of

The Defendant was granted authority and doing business as a State Trooper with the Virginia State
Police by the Commonwealth of Virginia. The Defendant acted under color of statute C.46.2-894 of the
Code of Virginia in causing to have warrant issued without duly investigating the matter, causing the

Plaintiff to answer for otherwise infamous crime without presentment or indict
Defendant willfully deprived or caused to be deprived Constitutionally protected

ent of a grand jury. The
} rights.

 

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the

alleged wrongful action, along with the dates and locations of all relevant events. You 1
further details such as the names of other persons involved in the events giving rise to y«
any cases or statutes. If more than one claim is asserted, number each claim and write a
statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

Where did the events giving rise to your claim(s) occur?

nay wish to include
yur claims. Do not cite
short and plain

The events giving rise to this claim reportedly occurred in Jarratt, Virginia. The arrest of the Plaintiff

occured on December 21, 2020 in the Petersburg Circuit Court.

What date and approximate time did the events giving rise to your claim(s) occ
The date of events giving rise to this claim is October 27, 2020, as the reported

ur?
offense date. On

Decmber 21, 2020 @ 9:00 A.M., Plaintiff was arrested in the Petersburg Circuit Court for the warrant

issued or caused to be issued by the Defendant.

What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

Was anyone else involved? Who else saw what happened?)

 

On Decmber 21, 2020, while making a special appearance in the Petersburg
arrested for a warrant issued in Greensville County, Virginia. The Defendant,

ircuit Court, | was
ILLIAM WALTER

SEDR, Ill filed with the Greensville General District Court, as Complainant, Case #GT20012482-00;
GT20012483-00; GT20012484-00 without probable cause, supported by oath or affirmation of a injured
party. The Defendant's Complaint in Case # GT20012482-00; GT20012483-00; GT200112484-00 filed

on December 21, 2020 was not duly investigated, holds me to answer for a ot
without a presentment or indictment of a grand jury. The Defendant's action re:
the liberty of the Plaintiff.

rwise infamous crime
ults in the deprivation of

 
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IV.

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Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required and did or did not receive.

The injuries sustained relating to alleged events has been the emotional distress which
treated at this time.

is currently not medically

 

Relief

 

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for

the acts alleged. Explain the basis for these claims.

| would like the Court to determine if the Defendant, WILLLIAM WALTER SEDR, III violate the Constitionally

protected rights (Amendment IV and Amendment V Bill of Rights) of the Plaintiff, Marsi
American National.

Violation of Constitutional Provision - Amendment IV $250,000.00
Violation of Constitutional Provision - Amendendment V $250,000.00

lle Bey, a Moor

 

 
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VI.

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law; (3) the fac

contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

Signature of Plaintiff VN, PY wat

(- bud

 

Printed Name of Plaintiff | Marsielle Bey ex. Rel Corey M\ Lewis
\
B. For Attorneys \

Date of signing:

Signature of Attorney

 

Printed Name of Attorney
Bar Number

Name of Law Firm
Address

City State
Telephone Number

Zip Code

 

E-mail Address

 

 
